         Case 3:18-po-00306-YY         Document 13       Filed 02/03/19     Page 1 of 2




                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                    PORTLAND DIVISION



UNITED STATES OF AMERICA                         3:18-cr-00306
                                                 (Violation 6906277)
               v.
                                                 ORDER
JOHN C. HACKER,

              Defendant.


        This matter having come before this Court upon motion of the government, and the Court

having fully considered government=s request for a continuance of the trial setting,

        IT IS HEREBY ORDERED that trial in the above case set for February 8, 2019, is

stricken and the matter is deferred to the March 1, 2019, CVB docket, with a scheduling

conference to be coordinated by the parties.

        I HEREBY FIND that additional time is required for the government to prepare for trial.

        I FURTHER FIND that this continuance constitutes excludable delay pursuant to Title 18,

///

///

///

///

///

Order                                                                                     Page 1
         Case 3:18-po-00306-YY         Document 13       Filed 02/03/19     Page 2 of 2




United States Code, Section 3161(h)(7)(A); that the ends of justice to be served by granting this

continuance outweigh the best interests of the public and the defendant in a speedy trial.
                   3 2019.
Dated: February _____,


                                      ____________________________________
                                      The Honorable Jolie A. Russo
                                      UNITED STATES MAGISTRATE JUDGE


Presented by:

BILLY J. WILLIAMS, OSB #901366
United States Attorney

s/ Ryan    W. Bounds
RYAN W. BOUNDS, OSB #00012
Assistant United States Attorney

JOSHUA M. SHERMAN
Certified Law Clerk




 Order to Continue Trial, 3:18-po-00306, Violation 6906277, Hacker                           Page 2
